Case 2:04-CV-02395-BBD-tmp Document 77 Filed 07/01/05 Page 1 of 23_ Page|D 97

. mL _“__*RQ
IN THE UNITED STATES DISTRICT COU£¥D

FOR THE WESTERN DISTRICT OF TENNES%BERR_;| AH 7:53
WESTERN DIVISION

'r\ sm '

O.Em. us mem

_sz 0¥ na hew
OLEN M. BAILEY, JR.,

Individually, TERESA W.
BAILEY, Individually, THE
BAILEY LAW FIRM, A
Professional Corporation, and
OLEN M. BAILEY, JR. and TERESA
W. BAILEY, as Successors of
UNBORN BAILEY BABY GIRL,

Plaintiffs.

vs. Nb. 04-2395 D P
DECK - White Station Tower,
LLC, DECK - White Station
Manager, LLC, KAUFMAN
PROPERTIES, INC., KAUFMAN
REALTY GROUP, LLC, TRAMMEL
CROW COMPANY, P.C., INC.,
SANITORS, INC., and JOHN/JANE
DOES, Individually,

Defendants and
Third-Party Plaintiffs,

'V'B.
D.L. SCHMITZ WATERPROOFING &

RESTORATICN COMPANY, INC., and
KERMIT B. BUCK & SON, INC.,

`_¢vvv\_¢h,¢\_¢vvvv`_¢vvv`fv`_rVvvvvvvvvvv`¢v\.¢v

Third-Party Defendants.

 

ORDER DENYING DEFENDANTS' MOTION FOR PROTECTIVE ORDER

 

Before the court is defendants Kaufman Propertiee, Inc. and

Kaufman Realty Group, LLC'S (collectively referred to as “Kaufman”)

Th!e document entered on the docket sheet in comp}ianca
thRmeBBandmr?Sw)FHCPon "' C?{

Case 2:04-CV-02395-BBD-tmp Document 77 Filed 07/01/05 Page 2 of 23 Page|D 98

Motion for Protective Order, filed on February 14, 2005 (dkt # 33).
Plaintiffs filed their response on March 14, 2005. A nmtion
hearing was set for April 5, 2005; however, at the request of
counsel, the hearing' was continued to June l, 2005. At the
hearing, counsel for all interested parties were present and
heard.1 For the reasons below, the motion for protective order is
DENIED.
I. BACKGROUND

According to the amended complaint, plaintiffs Olen.M. Bailey,
Teresa W. Bailey, and The Bailey Law Firm have occupied an office
located in White Station Tower (“WST”) in Memphis, Tennessee, since
1994.2 Prior to purchasing WST on July 17, 1998, Kaufman received
a notice of water intrusion in WST Suite 1710, which was
Plaintiffs' office. (Amended Complaint TI 11-12, Kaufman Answer q
11-12.) In November 1998, Kaufman commenced renovation of WST,
which included waterproofing. (Kaufman Answer q 19.) Plaintiffs
did not complain about water intrusion again until September 26,
2002. (Amended Complaint 1 21.) Immediately after another

complaint was made by Plaintiffs on February 24, 2003, Kaufman

 

lBecause the motion was limited to a discovery dispute
between the plaintiffs and defendant Kaufman, and since the
dispute involved allegedly privileged documents, the hearing was
conducted under seal and counsel for all parties other than the
plaintiffs and Kaufman were excused from attending the hearing.

2Plaintiffs amended their complaint on October 27, 2004,
adding Olen M. Bailey and Teresa W. Bailey as Successors of an
unnamed, unborn baby girl.

_2_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 3 of 23 Page|D 99

hired Dr. Richard Lipsey, a toxicologist from Florida, to perform
tests for mold. (Amended Complaint q 22, Kaufman Answer q 22, 24.)

Dr. Lipsey evaluated conditions in WST on multiple occasions.
Dr. Lipsey's first set of tests were conducted on March ll, 2003.
(_§§ E-mail from Dr. Lipsey to Susan Tippens dated March 12, 2003
attached to Kaufman's motion.) Dr. Lipsey conducted another set of
tests at WST on May 13, 2003. The laboratory results from these
tests were produced to Plaintiffs on June 17, 2003, and shortly
thereafter, Kaufman held aa WST tenant's neeting, during which
Kaufman made Dr. Lipsey available for questioning by the tenants,
including the Plaintiffsr

At about the same time Kaufman retained the services of Dr.
Lipsey, Kaufman also hired the law firm of Drew, Eckl, and Farnham,
LLP.3 According to Kaufman, sometime in April of 2003, an attorney
with that law firm, Joseph Chancey, contacted Dr. Lipsey to serve
as a consulting expert witness. It is unclear from the record
before the court, however, whether Dr. Lipsey` was, in fact,
retained. by' Chancey. In. his affidavit filed. with. the court,
Chancey states that he retained Dr. Lipsey, and Kaufman attempts to
support that statement by attaching what they contend is a contract
for expert consulting services. The contract apparently was signed

by Chancey on April 17, 2004, but it does not contain Dr. Lipsey’s

 

3In an affidavit filed with the court on February 14, 2005,
attorney Chancey states that his firm was retained by Kaufman “in
or around March 2003.”

_3_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 4 of 23 Page|D 100

signature. In his sworn statement that Plaintiffs filed with the
court on March 14, 2005, Dr. Lipsey maintained that he did not
remember seeing that contract until Plaintiffs' counsel sent it to
him in February 2005. He stated that the contract is similar to
his standard agreement, a sample of which he sent to Kaufman in
March 2004. However, the “contract” that Kaufman alleges he signed
contained provisions that he had not previously seen. Moreover,
Dr. Lipsey stated that he was never aware of any potential
litigation, and that he simply thought he was hired to perform an
environmental sampling in order to give the building a “clean bill
of health” for a potential sale.

Plaintiffs filed this lawsuit in May 2004, alleging damages
and injuries caused by “airborne toxins from mold” in their law
office. In its answer, Kaufman alleges a comparative fault
defense, listing Dr. Lipsey as an individual who may be liable for
Plaintiffs’ alleged injuries and damages. (Kaufman Answer 3.) The
answer states that Dr. Lipsey was “to provide advice for resolving
mold issues that were discovered at White Station Tower.” (Kaufman
Answer 4.) Kaufman, however, did. not include Dr. Lipsey' as a
potential witness on its Rule 26 initial disclosures. (Plaintiffs'
Response 2.) Plaintiffs investigated Dr. Lipsey's involvement with
Kaufman, requesting Kaufman produce all documents evidencing any
interaction between Kaufman and Dr. Lipsey. (Plaintiffs’ Response

2.) Kaufman produced thirteen responsive documents but did not

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 5 of 23 Page|D 101

submit a privilege log or indicate that there were any other
responsive documents. (Plaintiffs' Response 3.) _Subsequently,
plaintiffs sent these thirteen documents to Dr. Lipsey and inquired
as to whether he might have additional documents that evidenced
interaction between himself and Kaufman. (Plaintiffs' Response 3.)
Dr. Lipsey indicated he had additional documents in his possession
but would not produce them without a subpoena. (Plaintiffs'
Response 3-4.)

On October 20, 2004, a subpoena was served on Dr. Lipsey's
company, directing it to produce all documents in its possession
related to WST and Kaufman by October 22, 2004. Plaintiffs served
a notice of the subpoena on Kaufman on October 19, 2004.
(Plaintiffs' Response 4.) Dr. Lipsey produced twenty-seven
documents on October 26. (Plaintiffs' Response 4.) Out of those
twenty-seven documents, thirteen were duplicative of the documents
Kaufman already produced. Plaintiffs forwarded to Kaufman a copy
of all the documents Dr. Lipsey produced on October 27. Kaufman
now claims that the remaining fourteen documents are protected by
the attorney-client privilege and/or the work product doctrine. It
seeks a protective order to require Plaintiffs either to return
those documents or to prevent further production of these documents
or information contained therein.

Kaufman did not file a motion to quash the subpoena prior to

Dr. Lipsey’s production of the documents. In fact, Kaufman first

'Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 6 of 23 Page|D 102

contacted Plaintiffs' counsel on November 11 to inform counsel that
the documents produced by Dr. Lipsey were privileged. Kaufman
stated that it “did not foresee that Dr. Lipsey, an expert with
more than thirty (30) years of experience, would disclose
privileged material in response to the Plaintiff’s [sic] Deposition
Subpoena.” (Motion at 1 2.)
II . ANALYSIS

Motions for protective order are generally governed by Federal
Rule of Civil Procedure 26. The present situation is complicated,
however, by the fact that the documents were produced by a non-
party pursuant to a subpoena issued from another district. Rule 45
governs non-party subpoenas. Because Kaufman is objecting to the
use of documents produced pursuant to a subpoena, this court must
look to both Rule 26 and Rule 45. See Oneida. Ltd. v. United
States, 43 Fed. Cl. 611, 616 n.S (Fed. Cl. 1999)(“To allow
plaintiff to raise objections to a subpoena after the time
prescribed by the rules short circuits the rationale of the rule,
which obviously is designed to resolve disputes regarding
production within a short time frame.”). Thus, in addition to the
issues of whether the documents at issue are protected by the
attorney-client privilege or the work product doctrine, ancillary
issues pertaining to Rule 45, such as whether this is the proper
district to resolve the dispute and whether Kaufman complied with

the procedural deadlines of the federal rules, must be resolved.

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 7 of 23 Page|D 103

A. Proper Court
There is significant overlap between Rule 26 and Rule 45.

Seel e.g., Hickman v. Taylor, 329 U.S. 495, 505 (1947)(stating that
Rules 26, 33, 34, and 45 “create integrated procedural devices”);

In re Sealed Case, 141 F.3d 337, 342 (D.C. Cir. 1998)(stating that

 

there is broad overlap in the grounds for granting a motion to
quash under Rule 45 and a motion for protective order under Rule
26); Daq Enter., Inc. v. Exxon Mobile Corp., 226 F.R.D. 95, 104
(D.D.C. 2005)(stating that “Rule 45 subpoenas are ‘discovery' under
Rules 16 and 26”). Nevertheless, the two rules have distinct
jurisdictional provisions. Under Rule 26(c), the court in which
the action is pending may issue a protective order. Language in
Rule 45, however, indicates that only the issuing court has the
power to act on its subpoenas. In re Sealed Case, 141 F.3d at 342.
Although Rule 45 generally applies to non-parties, some courts have
determined that the rule also governs motions to quash filed by
parties, and that the rule requires that motions to quash must also
be brought before the court that issued the subpoena. Seel e.g.,
Jack Frost Labs., Inc. v. thsicians & Nurses Mfg. Corp., No. 92-
9264, 1994 WL 9690, at *1 (S.D.N.Y. Jan 13, l994)(unpublished).
At a May 3, 2005 telephonic status conference, as well as
during the June 1 sealed hearing, the court raised this issue with
all interested parties. The parties asked that this court rule on

the motion for protective order, even though the subpoena was

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 8 of 23 Page|D 104

issued by a court from another district. Based on the parties'
express consent to resolve their dispute in this district, and for
purposes of judicial economy, this court will proceed to address
the merits of the motion.
B. Procedural Requirements of Rule 45

Rule 45 provides that

a person commanded to produce and permit inspection and

copying may, within 14 days after service of the subpoena

or before the time specified for compliance if such time

is less than 14 days after service, serve upon the party

or attorney designated in the subpoena written objection

to inspection or copying of any or all of the designated

materials or of the premises.
Fed. R. Civ. P. 45(c)(2)(B). This requirement forces “the
recipient of a subpoena to raise all objections at once, rather
than in staggered batches, so that discovery does not become a
‘game.’” In re DG Acquisition Corp., 151 F.3d 75, 81 (2d Cir.
1998)(citing United States v. Brvan, 339 U.S. 323, 331 (1950)).
Generally, subpoenaed persons failing to object to subpoenas within
that fourteen-day window waive the right to assert any objections.
Id.; Am. Elec. Power Co., Inc. v. United States, 191 F.R.D. 132,
136 (S.D. Ohio 1999). At least one court has found that parties
(in addition to non-parties) are bound by the fourteen-day
limitation of Rule 45(c). See Oneida, Ltd. v. United States, 43

Fed. Cl. 611, 616 (Fed. Cl. 1999). In Oneida, the defendant issued

subpoenas to three of plaintiff's experts, and the subpoena

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 9 of 23 Page|D 105

directed each expert to produce certain documents.4 ldg at 613.
Prior to producing the documents to the defendant, each expert sent
responsive documents in their possession to plaintiff's counsel,
who reviewed the documents. ldg at 614. After plaintiff’s counsel
reviewed the documents, some documents were produced to the
defendant.5 ld; During the deposition of these experts, the
defendant learned that some documents had been withheld by the
plaintiff's counsel, but at no point prior to the deposition did
plaintiff's counsel object to production of any of the expert’s
documents. ldg The defendant requested any documents withheld by
the plaintiff’s counsel, but counsel responded that they were
privileged materials. ldg This response was the first written
objection to the subpoena, and it came sixty' days after the
issuance of the first subpoena. gee id; The defendant filed a
motion to compel approximately three months after the issuance of
the subpoenas. ld* at 615.

The Oneida court concluded that the plaintiff waived all
objections, including those based on the work product doctrine,

because it failed to object to the subpoena within the time allowed

 

4The subpoenas directed document production within five,
seven, and eleven days after their issuance.

5With respect to two of the three experts, Plaintiff’s
counsel returned some of the documents to the experts, who
forwarded the documents to the defendant. Plaintiff’s counsel
forwarded the documents from the third expert to the defendant
without returning them to the expert.

_9_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 10 of 23 Page|D 106

under Rule 45(c). ;dg at 616-17. The court stated, among other
things, that parties should be governed by the same time
limitations provided by the rule. ldg at 616 n.8.

This court agrees with the analysis in Onieda. Parties have
a greater interest in. protecting the disclosure of privileged
documents in their own case, as compared to a non-party to whom the
subpoena was directed. If the rule requires a non-party, who may
have little or no interest in the underlying case, to object within
fourteen days or even sooner (if the date for compliance set forth
in the subpoena is less than fourteen days), it is both reasonable
and fair to hold an interested party to that same standard.

It is undisputed that Kaufman did not object to the subpoena
before the time specified for compliance. Kaufman's first
objection came on November 11, 2004.6 This is twenty days after
the October 22 deadline specified in the subpoena. Although the
subpoena did not allow Kaufman much time to object, at minimum,
written objections should have been made within fourteen days.
Accordingly, the court denies the nmtion for protective order
because Kaufman did not timely object to the subpoena as required
by Rule 45, and thus, waived any objections.

Under certain limited circumstances, however, the failure to

 

6Rule 45(c)(2)(B) explicitly requires the objection to be in
writing. Nothing in the record indicates that Kaufman objected
in writing on November 11, but even assuming it did do so, the
objection was still untimely.

_10_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 11 of 23 Page|D 107

serve timely written objections to a subpoena may not constitute a
waiver of objections if a court finds there are unusual
circumstances and good cause for the failure, ldg at 617.
“Specifically, courts have found that the following circumstances
may excuse the failure to serve timely written objections: (i) the
subpoena is overbroad on its face and exceeds the bounds of fair
discovery; (ii) the subpoenaed witness is a nonparty acting in good
faith; or (iii) counsel for the witness and counsel for the
subpoenaing party were in contact concerning the witness'
compliance before the witness challenged the legal basis for the
subpoena.” ;dg (citing Alexander v. FBI, Nos. Civ. 96-2123 & Civ.
97-1288, 1998 WL 292083 (D.D.C. May 28, 1998); COnCOrd BOat Corp.
v. Brunswick Corp., 169 F.R.D. 44, 48-51 (S.D.N.Y. 1996); Celanese
Corp. v. E.I. duPont de Nemours & Co., 58 F.R.D. 606, 609 (D. Del.
1973)).

Kaufman has failed to demonstrate any unusual circumstances or
good cause for failing to object timely. In fact, the only reason
that Kaufman gives for failing to object is that it “did not
foresee that Dr. Lipsey, an expert with more than thirty (30) years
of experience, would disclose privileged material in response to
the Plaintiff’s Deposition Subpoena.” (Plaintiff's Motion at j
2.).

In any event, even if this court were inclined to excuse

Kaufman's untimely objections, Kaufman nevertheless has failed to

_11_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 12 of 23 Page|D 108

demonstrate that the documents are protected.by the attorney-client
privilege or work product doctrine.

C. Attorney-Client Privilege

Of the fourteen allegedly protected documents, Kaufman claims
seven documents, which comprise five e-mail messages from Joseph
Chancey to Dr. Lipsey, are protected by the attorney-client
privilege.7 In diversity cases such as this, the limits of any
privilege must be “determined in accordance with state law.” Fed.
R. Evid. 501.

The privilege is established by the following factors:

(1) the asserted holder of the privilege is or sought to

become a client; (2) the person to whom the communication was

made (a) is a member of the bar of a court, or his subordinate

and (b) in connection with this communication is acting as a

lawyer; (3) the communication relates to a fact of which the

attorney' was informed (a) by' his client (b) without the
presence of strangers (c) for the purpose of securing
primarily either (i) an opinion on law or (ii) legal services
or (iii) assistance in some legal proceeding, and not (d) for
the purpose of committing a crime or tort; and (4) the
privilege has been (a) claimed and (b) not waived by the
client.

Humphrevs, Hutcheson & Moselev v. Donovan, 568 F.Supp. 161, 175

(M.D. Tenn. 1983)(construing Tenn. Code Ann. § 23-3-105).

In holding that the presence of a professional negotiator at
a meeting between a local school board and its attorney did not

destroy the attorney-client privilege, the Tennessee Supreme Court

has “indicated a willingness to extend the privilege in order to

 

7Those five e-mail are labeled with the following Bates
numbers: BO445, BO447-448, B0449, B0450, and B0454-455.

_12_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 13 of 23 Page|D 109

cover agents of the client.” Roval Surplus Lines Ins. v. Sofamor
Danek Group, 190 F.R.D. 463, 469 (W.D. Tenn. 1999)(citing §mith
Countv Educ. Assoc. v. Anderson, 676 S.W.2d 328, 333 (Tenn. 1984).
Few Tennessee courts, however, have elaborated on what constitutes
an agent for purposes of the attorney-client privilege. §§e id4
“In the absence of any clear authority on point, it is the role of
the federal court in diversity' cases to consider all of the
available legal sources in order to formulate a rule of decision.”
ld; (citing Anderson Dev. Co. v. Travelers Indem. Co., 49 F.3d
1128, 1131 (6th Cir. 1995)).

The seminal case on the issue of whether communications
between an independent expert or consultant and an attorney are
protected by the attorney-client privilege is United States v.
Kgy§l, 296 F.2d 918 (2d Cir. 1961). In §del, an attorney hired an
accountant to assist the attorney in rendering tax law advice, and
the issue before the court was to what extent confidential
communications made by a client to an accountant were protected
from disclosure. ld; at 918-19. Judge Friendly explained that
individuals need attorneys to assist them in the complexities of
litigation, and that the client should be able to have “unbounded
confidence” in the attorney. ldg at 921. He further stated that
the complexities of litigation may require an attorney to obtain
specialized knowledge in a particular area from an expert in that

field. Id. In emphasizing his point, Judge Friendly used the

_13*

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 14 of 23 Page|D 110

example of a client who speaks a foreign language, which would
result in the need for the attorney to hire a translator. ld; at
921-22. Ultimately, the court determined that the communications
with the accountant would be protected because the accountant’s
specialized knowledge was necessary for the attorney to provide
legal advice. ldg at 922.

The §del court limited the scope of its holding, however.
Judge Friendly stated that

Nothing in the policy of the privilege suggests that

attorneys, simply by placing accountants, scientists or

investigators on their payrolls and maintaining them in
their offices, should be able to invest all

communications by clients to such persons with a

privilege the law has not seen fit to extend when the

latter are operating under their own steam.
ldg at 921. Moreover, he emphasized that “[w]hat is vital to the
privilege is that the communication be made in confidence for the
purpose of obtaining legal advice from the lawyer. If what is
sought is not legal advice but only accounting service, or if the
advice sought is the accountant‘s rather than the lawyer’s, no
privilege exists.” ld; at 922 (citations omitted).

Several cases presenting similar facts to the present case
have followed Kovel. See, e.g., ECDC Envir.. L.C. v. New York
Marine and Gen. Ins. Co., No. 96-6033, 1998 WL 614478 (S.D.N.Y.
June 4, 1998)(unpub1ished); United States Postal Serv. v. Phelps
Dodge Ref. Corp., 852 F.Supp. 156 (E.D.N.Y. 1994); lng;gg§rand_gg;y
Matter, 147 F.R.D. 82 (E.D. Pa. 1992). In Grand Jurv Matter, an

_14...

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 15 of 23 Page|D 111

environmental consulting firm withheld production of certain
documents responsive to a subpoena, claiming that the privileged
documents contain communications between the firm and a company's
attorney and that they were for the purpose of assisting the
attorney to render legal advice. Grand Jurv Matter, 147 F.R.D. at
84. The court agreed with the legal analysis that if the documents
were for the purpose of assisting the attorney render legal advice,
they would be privileged. ldg at 85. It also stated that “[i]f,
however, they were made simply in the course of providing
environmental services by the expert consultant of the company,
they are not protected even though some of them may be
documentation of communications between the expert consultant and
the law firm.” _ldg The court found. the documents were not
privileged because they were made in the course of the expert
consultant’s preparation of a waste management plan. ld;

The issue before the Eastern District of New York in Eh§lp§
digg was whether certain communications by an engineering firm
hired to conduct environmental studies of the soil and oversee
removal of toxic waste from the plaintiff's land were privileged.
Phelps Dodge, 852 F.Supp. at 161. The court concluded that the
services provided by the engineering firm were not done to assist
the attorneys in litigation. ld; at 162. It also stated that

these consultants based their opinions on factual and

scientific evidence they generated through studies and

collected through observation of the physical condition
of the property, information that did not come through

_]_5_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 16 of 23 Page|D 112

client confidences. Such underlying factual data can
never be protected by the attorney-client privilege and
neither can the resulting opinions and recommendations.
There are few, if any, conceivable circumstances where a
scientist or engineer employed to gather data should be
considered an agent within the scope of the privilege
since the information collected will generally be
factual, obtained from sources other than the client.

In ECDC Envir., defendants hired a group of consultants to
analyze test data and provide technical assistance concerning the

clean-up of a dredge spill from an ocean barge. ECDC Envir., 1998

 

WL 614478, at *7. Because it did not “appear that they were
retained to explain or analyze any pre-existing confidential
information in plaintiff’s possession or control,” communications
between the consultants and the plaintiff’s attorneys were not
privileged. ldg at *7-9.

In the present case, the record before the court indicates
that Dr. Lipsey was retained for the purposes of completing
environmental sampling and testing, and not for assisting attorneys
in providing legal advice. It is undisputed that Dr. Lipsey was
first contacted to conduct environmental sampling of WST not by an
attorney, but by Susan Tippens, a non-attorney employee of

Kaufman.E In his sworn statement, Dr. Lipsey states that no one

 

8As described by Dr. Lipsey in his sworn statement, an
environmental sampling is where a scientist takes “air samples
and swab samples and bulk samples and [has] them analyzed by an
independent lab and then tell[s] the building owner or manager of
the results as to what are harmful molds and what levels are
harmful and how to remediate or clean[] up.” (Lipsey Sworn

_15_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 17 of 23 Page|D 113

ever mentioned anything about potential litigation, even after
attorney Joseph Chancey contacted him. (Lipsey Sworn Statement,
13:15-21, 14:6-8, 15:25).

Moreover, the alleged privileged communications indicate that
Dr. Lipsey was involved merely to report on the health of WST. For
example, in the June 6, 2003 e-mail, Chancey suggests they are
trying to “calm things” and make Dr. Lipsey’s narrative reports
available to tenants. (E-mail from Chancey to Dr. Lipsey June 6,
2003, 12:54:17 EST.) Another e-mail on May 23, 2003 indicates that
Kaufman was going to provide Dr. Lipsey's report to the tenants.
(E-mail from Chancey to Dr. Lipsey (May 23, 2003, 14:41:12 EST).)
In an e-mail dated April 18, 2003, Chancey states that the report
drafted by Dr. Lipsey “is exactly what we had in mind from the
standpoint of a lay reader.” (E-mail from Chancey to Dr. Lipsey
(April 18, 2003, 11:11:50 EST).) From this e-mail message, it is
clear that Dr. Lipsey was hired to make certain tests and report
his findings in a document for tenants, and not for the purpose of
assisting Chancey in providing legal advice to Kaufman.9

Accordingly, this court finds that Dr. Lipsey was not hired to

assist an attorney to provide legal advice to Kaufman, and

 

Statement, 12:10-15.)

9The professional services contract does not require the
court to reach a different conclusion. The contract was not
signed by Dr. Lipsey, and he stated that he had never seen the
contract until Plaintiff's counsel sent it to him in February
2005.

_17_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 18 of 23 Page|D 114

therefore, communications (including e-mails) between Dr. Lipsey
and Chancey are not protected by the attorney-client privilege.10
C. Work Product Doctrine

Kaufman claims the remaining seven documents at issue are
protected by the work-product doctrine.ll Unlike the attorney-
client privilege, the applicability of the work product doctrine in
diversity cases is governed by the federal rules. gee Fed. R.
Civ. P. 26(b)(3); Roval Surplus Lines Ins. v. Sofamor Danek Group,
190 F.R.D. 463, 481 (W.D. Tenn. 1999)(citing United Coal Cos. v.
Powell Constr., 839 F.2d 958, 966 (3rd Cir. 1988)).

Federal Rule of Civil Procedure 26(b)(3) protects against the
discovery of documents and tangible things made in the anticipation
of litigation by or for a party' or by or for the party’s
representative, unless the party seeking discovery demonstrates
substantial need for the materials and is unable to get the
information without undue hardship. The doctrine creates a zone of

privacy and protection for an attorney's preparation on a case.

 

10Even if this court were to conclude that Dr. Lipsey was an
agent whose communications are protected by the attorney-client
privilege, Kaufman would still have to demonstrate that the other
elements of the attorney-client privilege are satisfied.
Although the court need not resolve these issues, the court
questions whether the asserted privilege would survive Dr.
Lipsey's disclosure of the documents to the plaintiffs or
Kaufman's own public disclosure of the documents by attaching the
documents as exhibits to its motion for protective order (which
was not filed under seal or in camera).

llThose seven documents are labeled with the following Bates
numb€rS: BO439-440, 30451, BO456, 30458, 30466, and 30480.

_18_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 19 of 23 Page|D 115

See Hickman v. Tavlor, 329 U.S. 495, 510-11 (1947). A party can

 

waive its work product protection if it voluntarily discloses
documents to the opposing party. In re Columbia/HCA Healthcare
QD;L, 192 F.R.D. 575, 578 (M.D. 'I'enn. 2000).

The documents at issue are not protected by the work product
doctrine because several factors in the record indicate that they
were not prepared in anticipation of litigation. First, as
discussed in the previous section, Dr. Lipsey did not know that he
was preparing anything in anticipation of litigation, as set forth
in his sworn statement.

Second, in its answer to the complaint, Kaufman specifically
states that Dr. Lipsey “provided advice for resolving mold issues
that were discovered at White Station Tower.” (Kaufman's Answer at
4.) Although this may not be completely inconsistent with
Kaufman's claim that Dr. Lipsey was retained in anticipation of
litigation, it supports the conclusion that Dr. Lipsey was retained
to give WST a “clean bill of health.”

Third, Kaufman allowed Dr. Lipsey to answer any questions at
a WST tenant’s meeting in June 2003. Dr. Lipsey did not have any
subject matter limitations placed on him by Kaufman, and there were
no attorneys present at the meeting to intervene if someone asked
a question that required an answer from Dr. Lipsey that would have
revealed work product materials. Moreover, Kaufman's answer states

that it “offered to allow the Plaintiff to speak directly to Dr.

_19_

Case 2:04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 20 of 23 Page|D 116

Lipsey, who prepared the report, in order to answer any questions
that the Plaintiff's might have and to share that information with
his counsel and expert.” (Kaufman’s Answer at 9.) Kaufman’s
actions are inconsistent with a claim of work product immunity.

Fourth, Kaufman named Dr. Lipsey as a potential comparative
tortfeasor in its answer. This places Dr. Lipsey's environmental
sampling directly at issue in the case. Plaintiffs clearly have a
substantial need for these materials.

Moreover, nothing in the record adequately supports Kaufman’s
claim that Dr. Lipsey's work was done in anticipation of litigation
after Joseph Chancey contacted him. As discussed above, the
contract for professional services was not signed by Dr. Lipsey,
and he stated that no one informed him of potential litigation.
Additionally, the e-mail message introduced at the hearing did not
demonstrate to the court that Kaufman and Dr. Lipsey agreed to the
unsigned contract for consulting services. Even if the parties'
status somehow changed after the purported April 17, 2003
contractual date, three of the seven documents-BO456, B0458, and
BO480-were created prior to that date.

Based on all of these factors, the court concludes that the
seven documents at issue were not created in anticipation of

litigation. Accordingly, the court finds that the documents are

_20_

Case 2'04-CV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 21 of 23 Page|D 117

not protected work product.u
III. CONCLUSION
For the reasons above, the motion for a protective order is
DENIED.
IT IS SO ORDERED.
l/C_`

TU M. P
United States Magistrate Judge

 

film z 6 relief
Date

 

12Even if the court were to conclude that the documents were
created in anticipation of litigation, Kaufman would still have
the burden to show that it did not waive its work product
immunity. gee supra n.lO.

_21_

 

July l, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case 2:04-CV-02395 Was distributed by faX, mail, or direct printing on

E§SEE

 

Larry E. Parrish

LAW OFFICES OF LARRY E. PARRISH
6075 Poplar Avenue

Ste. 420

l\/lemphis7 TN 38119--476

Robert D. Flynn

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

l\/lemphis7 TN 38103--246

KriSti M. Bennett

LEWIS KING KRIEG & WALLDROP, PC
620 Market St.

5th Floor

P.O. BOX 2425

Knoxville7 TN 37901

Garrett M. Estep

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

l\/lemphis7 TN 38103

J ames B. Summers

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

David A. Draper

LEWIS KING KRIEG & WALDROP, PC
620 Market St.

5th Floor

P.O. BOX 2425

Knoxville7 TN 37901

Case 2:04-cV-O2395-BBD-tmp Document 77 Filed 07/01/05 Page 23 of 23 Page|D 119

Tim Wade Hellen

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

l\/lemphis7 TN 38103

Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

l\/lemphis7 TN 38103--540

Reagan F. Goins

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

Honorable Bernice Donald
US DISTRICT COURT

